                                                                                                    DISTRICT OF OREGON
                                                                                                         FILED
                                                                                                         May 13, 2020
                                                                                                  Clerk, U.S. Bankruptcy Court

 1

 2        Below is an order of the court.

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                                                                                   _______________________________________
 7                                                                                            DAVID W. HERCHER
                                                                                             U.S. Bankruptcy Judge
 8

 9
10                         IN THE UNITED STATES BANKRUPTCY COURT

11                                            DISTRICT OF OREGON

12   In re                                                           )    Case No. 20-31020-dwh12
                                                                     )
13   Mark F. Haueter and Cori L. Haueter,                            )    ORDER APPROVING STIPULATION TO
                                                                     )    EXTEND DEADLINE TO OBJECT TO
14                        Debtors.                                   )    DISCHARGEABILITY
                                                                     )
15                                                                   )
                                                                     )
16                                                                   )

17            Upon consideration of the Stipulation to Extend Deadline to Object to Dischargeability

18   entered into between Mark F. Haueter and Cori L. Haueter (“Debtors”) and Zion Bancorporation,

19   N.A. (“Zions”) in this matter on May 12, 2020 (“Stipulation”), and after considering the record

20   herein, this Court finds good cause that the Stipulation should be approved. It is hereby

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22   //

23   //

24   //

25   //

26   //

     PAGE 1 OF 2 - ORDER APPROVING STIPULATION TO EXTEND DEADLINE TO OBJECT
     TO DISCHARGEABILITY

                                               SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                     1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                           TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                            Case 20-31020-dwh7                   Doc 48          Filed 05/13/20
 1           ORDERED:

 2           The Court approves the Stipulation and grants an extension to Zions to file an objection

 3   to the dischargeability of the Debtors’ debts claimed by Zions pursuant to 11 U.S.C. § 523, for a

 4   period of 90 days from the original date of discharge of June 12, 2020, up to and including

 5   September 11, 2020.
                                                                 ###
 6
                       CERTIFICATION OF COMPLIANCE WITH LBR 9021-1(a)(2)(A)
 7
             I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).
 8

 9   PRESENTED BY:
10   SUSSMAN SHANK LLP
11      /s/ Thomas W. Stilley
     By___________________________________
12     Thomas W. Stilley OSB No. 883167
       Jesse C. Stewart, OSB No. 200478
13
             - and -
14
     Robert A. Faucher (Admitted Pro Hac Vice)
15   HOLLAND & HART LLP
16   Attorneys for Zion Bancorporation, N.A.
17
     *25734-001\ORDER ON STIPULATION TO EXTEND DEADLINE TO OBJECT TO DISCHARGEABILITY (03456094);1
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     PAGE 2 OF 2 - ORDER APPROVING STIPULATION TO EXTEND DEADLINE TO OBJECT
     TO DISCHARGEABILITY

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